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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS



 JASON BALZARINI,

 Plaintiff,

     v.
                                                       CIVIL ACTION NO. 17-cv-11313
 TOWN OF ROCKPORT,
 MARK SCHMINK, and                                     LEAVE TO FILE GRANTED
 JOHN HORVATH,                                         SEPT. 27, 2017

 Defendants.



                        FIRST AMENDED COMPLAINT, INJUNCTIVE RELIEF,
                                    AND JURY DEMAND

                                             I. Introduction

          1.       Plaintiff Jason Balzarini is a patrol officer in the Rockport Police Department who

serves one weekend per month and two weeks per year as a staff sergeant in the Army National

Guard. As a result of this service and a prior complaint he filed against the Town for violating

his right to serve in the National Guard without punishment, he has been harassed repeatedly and

now disciplined by the Defendants Police Lt. Mark Schmink and Police Chief John Horvath. The

Defendants even harassed Balzarini’s National Guard superior officers, contacting them to

question whether Balzarini had appeared for service. These actions of Defendants violate the

proscription against discrimination based on military service under the Uniformed Services

Employment and Reemployment Rights Ace (“USERRA”), 38 U.S.C. § 4301, et seq. After

Balzarini filed his initial complaint, the Defendants have taken further retaliatory actions against

him by launching an internal investigation and placing him on administrative desk officer duty
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assignment based on on-duty conduct that occurred over a year ago. Defendants must be

enjoined from further acts of discrimination, harassment, and retaliation, and Balzarini made

whole through an order of damages.

                                              II. Parties

       2.       Plaintiff Jason Balzarini is an employee of Rockport, Massachusetts, a patrol

officer of the Rockport Police Department, and a staff sergeant in the Massachusetts Army

National Guard.

       3.       Defendant Mark Schmink is a resident of Massachusetts and a lieutenant of the

Rockport Police Department, which is a department of the Town of Rockport.

       4.       Defendant John Horvath is a resident of Massachusetts and the chief of police of

the Rockport Police Department, which is a department of the Town of Rockport.

       5.       Defendant Town of Rockport is a duly chartered municipality within the

Commonwealth of Massachusetts, which operates a police department.

                                              III. Facts

       6.       Plaintiff Balzarini enlisted in the Army National Guard in 2002. In 2008, he

earned the rank of sergeant. In 2009, he earned the rank of staff sergeant. He was deployed in

active service in Afghanistan from 2012 to 2013.

       7.       In 2008, Rockport appointed Balzarini as a permanent intermittent police office

from a civil service certification, a non-full-time position.

       8.       In February 2013, while Balzarini was on active duty, Rockport bypassed him for

appointment as a permanent full-time officer in favor of a lower ranked candidate.




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          9.       On October 17, 2013, Balzarini notified Rockport, through counsel, that the

decision to bypass him violated USERRA. He specifically alleged wrongdoing by Mark

Schmink.

          10.      Instead of filing a federal complaint, however, Balzarini appealed the bypass to

the Massachusetts Civil Service Commission, which oversees civil service hiring, and filed a

complaint of discrimination with the Massachusetts Commission Against Discrimination on the

basis that the bypass violated M.G.L. c. 151B, § 4 because Rockport based its decision not to

hire him on his military service – the fact that he was deployed at the time of the appointment.1

          11.      Schmink was closely involved in the decision to bypass Balzarini.

          12.      In December 2013, Rockport appointed Balzarini as a permanent full-time officer.

          13.      In or around January 2015, Rockport stopped paying Balzarini (and another

officer who serves in the National Guard) full pay while they were on leave for National Guard

training despite the Town’s past practice of paying full pay during such training. Balzarini

appealed the Town’s action through his union.

          14.      As a Rockport police officer, Balzarini receives contractual overtime pay under

the union contract when he fills in for another officer’s scheduled shift. However, the Town

automatically offsets the contractual overtime pay by any hours in the same week that Balzarini

serves in the National Guard, thus decreasing his overall compensation due to his service in the

National Guard.

          15.      Since his appointment to full-time, John Horvath and Schmink have harassed

Balzarini about his attendance at National Guard training and his National Guard service in

general. They have generally treated him less favorably than other officers due to his National

Guard service.
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       M.G.L. c. 151B, § 4 prohibits discrimination in employment based on military service or veteran status.


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       16.     On March 4, 2016, (a Friday), Horvath issued a directive to Balzarini ordering

him to provide his yearly national Guard schedule on official National Guard letterhead by the

following Monday at 12 p.m., along with his most recent National Guard paystub and the name

and contact number of his National Guard Commanding Officer, and National Guard location to

which Balzarini reported. Balzarini was then required to provide his paystubs from the National

Guard for each subsequent month he “require[d] time off” to attend training within forty-eight

hours of receiving the pay-stubs.

       17.     There was no business justification for requesting the name and contact number of

Balzarini’s commanding officer, or the request for his pay-stubs on a continuing basis. These

requests and the threat of discipline were solely made to harass Balzarini for his National Guard

service.

       18.     In or around July 2016, Balzarini tweaked his back while transporting a heavy

individual down a flight of stairs. He reported the injury casually, but declined medical help.

Schmink and Horvath then interrogated him about whether he had any physical limitations due to

his military service. They told him that he needed to report right away if there were any injuries

he sustained in the military that would prevent him from doing his job. Schmink reminded

Balzarini about a story he had heard of Balzarini falling out of a Humvee during his deployment.

He told Balzarini: “If you can’t work here, you need to tell me right now.”

       19.     On May 3, 2017, Balzarini took a sick day. Horvath ordered him to provide a

doctor’s note contrary to the union contract, which only required a doctor’s note after three

consecutive sick days.

       20.     Later in May 2017, Horvath called Balzarini’s National Guard commanding

officer and questioned whether Balzarini was attending his training that month.




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         21.      Balzarini attended his two weeks of National Guard training from June 3, through

June 17, 2017.

         22.      On one of the first days of Balzarini’s training, National Guard First Sergeant

Thomas Bonner called the Department and asked for Defendant Horvath in response to his prior

call. When Horvath was connected, Horvath and Schmink were together. They asked Sgt.

Bonner how did they know that Balzarini was at training. They also asked Sgt. Bonner for

documentation to prove that Balzarini was in attendance. They asked for the training schedule,

which Balzarini had already provided the previous January. They asked Sgt. Bonner what if

Balzarini was sick, and Sgt. Bonner responded that the National Guard does not have sick days.2

         23.      On or about June 21, four days after his Army National Guard training, Balzarini

received written notification of possible discipline due to violations of Department rules and

regulations. The notifications listed seven rules that Balzarini allegedly may have violated due to

a series of emails that he had exchanged with Schmink between April 27, and May 9, 2017.

         24.      The next day, Horvath pulled Balzarini into his office and interrogated him for

ninety minutes regarding these emails and not responding to Schmink in a timely fashion in the

email exchange.

         25.      On July 5, 2017, Horvath issued a written reprimand to Balzaini, finding that

Balzarini had violated seven Department rules and regulations. As part of the discipline, Horvath

removed Balzarini from the Cape Ann Regional Response Team (“CARRT”), a prestigious

SWAT team assignment, removed him from his assignment of overseeing the Department’s

Honor Guard, and demoted him from being Officer-In-Charge (“OIC”) on his shift.

         26.      The CARRT assignment provides overtime pay when the team is deployed.

Balzarini was required to tryout for the team and served in a leadership position.
   2
       Balzarini was in the room with Sgt. Bonner during the conversation.


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       27.     An OIC of a shift receives overtime pay that other patrol officers do not receive.

Balzarini receives this overtime pay when he served as OIC of his shift but no longer receives it

since his demotion.

       28.     On July 17, 2017, Balzarini initiated the present action at the United States

District Court for the District of Massachusetts to pursue his statutory rights under USERRA.

       29.     On September 7, 2017, Balzarini was informed by Chief Horvath of an internal

investigation into an on-duty incident that took place on September 4, 2016. Specifically, the

investigation alleged that Balzarini “may have fired a non-department issued firearm while on

duty and while responding to a call without there being a legitimate law enforcement purpose for

doing so.”

       30.     As a result of the investigation, Balzarini was placed on an administrative desk

officer duty assignment pending the result of the investigation. His service weapon was taken

and, as a result, his opportunity to work overtime and details was eliminated.

       31.     Horvath was mocking and rude as he informed Balzarini about the investigation.

He stopped halfway through to ask Balzarini if he was “even paying attention.”

       32.     Where the alleged misconduct by Balzarini took place over one year ago, the

misconduct does not violate any Rockport Police Department rule or policy, law, or regulation,

and the pre-investigation limitation on Balzarini’s duties by Horvath is wholly unnecessary, it is

clear that the investigation is in fact pretextual and, along with the limitation on Balzarini’s

duties, taken in retaliation for Balzarini’s exercise of his right to pursue a civil action under

USERRA.

       33.     The October 17, 2013, letter, MCAD complaint, Civil Service Commission

appeal, and the instant suit are “action[s] to enforce a protection afforded [Balzarini] under”




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USERRA.3 Accordingly, the above actions of the Defendants constitute retaliation based on

activity that is protected by USERRA.

         34.      The above actions of the Defendants constitute discrimination based on service in

the National Guard, have been done to punish Balzarini due to his National Guard service, and

have caused him to lose benefits of employment due to his service in the National Guard. The

actions have caused lost wages, emotional distress, and other injuries.


                                           COUNT I
                                 (USERRA – 38 U.S.C. 4301, et seq)

         The actions as set forth above, including, inter alia, interfering with Plaintiff’s ability to

serve in the National Guard, creating a hostile work environment, disciplining him and removing

him from advantageous work assignments for pretextual reasons, including removing his service

weapon and denying him overtime opportunities and details, and denying him other benefits of

employment, violate 38 U.S.C. 4311(a) and (b), causing damages.


                                    COUNT II
                 (PRELIMINARY AND PERMANENT INJUNCTIVE RELIEF)

         Defendants must pay Balzarini his contractual overtime regardless of his National Guard

service, refrain from contacting his National Guard training office except for legitimate business

reasons, and refrain from further harassment of Balzarini due to his National Guard Service.




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       38 U.S.C. § 4311(b).


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WHEREFORE, the Plaintiff prays this Court:

       1.       ORDER the Defendants to pay the Plaintiff compensatory damages for lost
                wages, front pay, and emotional distress;

       2.       ORDER the Defendants to pay punitive damages, liquidated damages, and
                Plaintiff’s attorneys’ fees and costs as allowed by law;

       3.       Any further relief as is just and necessary.



                                                        Respectfully submitted,
                                                        JASON BALZARINI
                                                        By his attorney,


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September 27, 20174




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 Despite the ECF filing date, the Court deemed that this First Amended Complaint was filed on
September 27, 2017. See Clerk’s Notes for Hearing dated Sept. 27, 2017 (ECF No. 11).

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